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                                          6

                                          7   Attorneys for Plaintiffs

                                          8
                                                                           UNITED STATES DISTRICT COURT
                                          9
                                                           EASTERN DISTRICT OF CALIFORNIA DISTRICT OF CALIFORNIA
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                                              THOMAS SCHIFFLER, JEFFREY MILLER,                       Case No. 1:12-cv-01202-AWI-DLB
                                         12   CHRISTOPHER NAVARRO, and FRANK J.
                                              MELO,
                                         13                                                           JOINT STIPULATION OF PARTIES;
                                                                                                      ORDER
                                                                            Plaintiffs,
                                         14

                                         15           v.

                                         16   COUNTY OF MERCED; MERCED COUNTY
                                              SHERIFF’S DEPARTMENT; MARK N.
                                         17   PAZIN, individually and in his official capacity;
                                              RICCI THORESON, individually and in his
                                         18   official capacity; JOE SCOTT, individually and
                                         19   in his official capacity; JAMES BUTTREY,
                                              individually and in his official capacity; B.J.
                                         20   JONES, individually and in his official
                                              capacity; and DOES 1-10,
                                         21
                                                                            Defendants.
                                         22

                                         23

                                         24          1.      Plaintiffs filed their complaint for damages and injunctive relief on July 20, 2012.
                                         25          2.      On September 14, 2012, Defendants filed a Motion to Dismiss or to Strike and
                                         26   scheduled the Motion for hearing on October 15, 2012.
                                         27          3.      Plaintiffs expect to file an amended complaint in response to the Motion.
                                         28          4.      Plaintiffs have not been granted any prior extensions of time in this case.
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   ROSENFELD
   A Professional Corporation            30                                                       1
1001 Marina Village Parkway, Suite 200
      Alameda, California 94501
           (510) 337-1001
                                                 JOINT STIPULATION AND PROPOSED ORDER
                                         31      CASE NO. 1:12-CV-01202 AWI-DLB
                                         1                             5.       The parties hereby stipulate to an extension of time to and including October 26,

                                         2   2012, for Plaintiffs to file an amended complaint.

                                         3                             6.       The parties further stipulate and request that the Court order that the hearing on

                                         4   Defendants’ Motion to Dismiss or Strike be continued from the Court’s calendar of October 15,

                                         5   2012, to be rescheduled at Defendants’ option with time for Notice and time for filing of

                                         6   opposition and reply to be determined based on the date of the new hearing in accordance with

                                         7   Local Rule 230.

                                         8
                                             Dated: September 28, 2012                                       WEINBERG, ROGER & ROSENFELD
                                         9                                                                   A Professional Corporation
                                    10
                                                                                                             /s/ Leslie V. Freeman
                                    11                                                                By:    LESLIE V. FREEMAN
                                    12                                                                       Attorneys for Plaintiffs
                                    13

                                    14       Dated: September 28, 2012                                      MERCED COUNTY COUNSEL

                                    15
                                                                                                    By:     _/s/ Roger S. Matzkind
                                    16                                                                       ROGER S. MATZKIND

                                    17                                                                       Attorneys for Defendants

                                    18

                                    19                                                                      ORDER

                                    20

                                    21       IT IS SO ORDERED.

                                    22       Dated:                      September 28, 2012
                                                                                                    CHIEF UNITED STATES DISTRICT JUDGE
                                    23       DEAC_Sig nature-END:




                                    24       0m8i788

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                                    27

                                    28
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   ROSENFELD
   A Professional Corporation       30                                                                          2
1001 Marina Village Parkway, Suite 200
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           (510) 337-1001
                                                                    JOINT STIPULATION AND PROPOSED ORDER
                                    31                              Case No. 1:12-cv-01202 AWI-DLB
